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 7
 8                IN THE UNITED STATES DISTRICT COURT FOR THE
 9                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )         2:06-CR-00058-FCD
                                   )
12                  Plaintiff,     )         STIPULATION AND APPLICATION FOR
                                   )         A MONEY JUDGMENT; ORDER
13        v.                       )
                                   )
14   JAGPRIT SINGH SEKHON, et al., )
                                   )
15                  Defendants.    )
     ______________________________)
16
17        The United States and defendant Jagprit Singh Sekhon stipulate
18   to the entry of a Money Judgment based on the Application of the
19   United States, as set forth below:
20        1.   The Second Superseding Indictment in this case charges
21   defendant Jagprit Singh Sekhon with Conspiracy to Defraud the United
22   States, and to Make False Statements in Asylum Application in
23   violation of 18 U.S.C. § 371, False Statements in Asylum
24   Applications, and Aiding and Abetting in violation of 18 U.S.C.
25   § 1546 and 2, Aiding and Abetting False Statements in violation of
26   18 U.S.C. § 1001 and 2, and Conspiracy to Make False Statements in
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                                         1            Stipulation and Application for a
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 1   violation of 18 U.S.C. § 371.      The Second Superseding Indictment
 2   included a forfeiture allegation.
 3        2.    On June 25, 2009, defendant Jagprit Singh Sekhon was found
 4   guilty of Count One which charges him with Conspiracy to Defraud the
 5   United States, and to Make False Statements in Asylum Application in
 6   violation of 18 U.S.C. § 371; Counts Three, Five, Six, and Nine
 7   through Twelve which charge him with False Statements in Asylum
 8   Applications, and Aiding and Abetting in violation of 18 U.S.C.
 9   § 1546 and 2, among other charges.
10        3.    Defendant Jagprit Singh Sekhon stipulates and agrees to
11   forfeit voluntarily and immediately $170,000, as a personal money
12   judgment pursuant to Fed. R. Crim. P. 32.2(b)(1), which reflects a
13   reasonable compromise between the parties for forfeiture purposes
14   concerning the proceeds the defendant obtained as a result of
15   violations of 18 U.S.C. §§ 371 and 1546, to which he has been found
16   guilty.
17        4.    Plaintiff hereby applies for entry of a money judgment as
18   follows:
19               a.   Pursuant to 18 U.S.C. § 982(a)(6)(A)(ii)(I) and Fed.
20   R. Crim. P. 32.2(b)(1), the Court shall impose a personal forfeiture
21   money judgment against defendant Jagprit Singh Sekhon in the amount
22   of $170,000.
23               b.   The above-referenced personal forfeiture money
24   judgment is imposed based on defendant Jagprit Singh Sekhon’s
25   conviction for violating 18 U.S.C. §§ 371 and 1546.            Said amount
26   reflects a reasonable compromise between the parties for forfeiture
27   purposes concerning the proceeds the defendant obtained, which the
28
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                                                      Money Judgment; Order
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 1   defendant agrees is subject to forfeiture based on the offense of
 2   conviction.      Any funds applied towards such judgment shall be
 3   forfeited to the United States of America and disposed of as
 4   provided for by law.
 5         5.    Payment of the personal forfeiture money judgment should be
 6   made in the form of a cashier’s check made payable to Customs and
 7   Border Protection and sent to the U.S. Attorney’s Office, Att: Asset
 8   Forfeiture Unit, 501 I Street, Suite 10-100, Sacramento, CA 95814.
 9   Prior to the imposition of sentence, any funds delivered to the
10   United States to satisfy the personal money judgment shall be seized
11   and held by the U.S. Department of Homeland Security, Customs and
12   Border Protection in its secure custody and control.
13   DATED:                                     LAWRENCE G. BROWN
                                                United States Attorney
14
15                                                   /s/
                                                CAMIL A. SKIPPER
16                                              Assistant U.S. Attorney
17
18   DATED:                                          /s/
                                                JAGPRIT SINGH SEKHON
19                                              Defendant
20
21   DATED:                                          /s/
                                                MICHAEL STEPANIAN
22                                              RANDY SUE POLLOCK
                                                Attorneys for Defendant
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                                            3            Stipulation and Application for a
                                                         Money Judgment; Order
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 1                                    O R D E R
 2        For good cause shown, the Court hereby imposes a personal
 3   forfeiture money judgment against defendant Jagprit Singh Sekhon in
 4   the amount of $170,000.     Any funds applied towards such judgment
 5   shall be forfeited to the United States of America and disposed of
 6   as provided for by law.     Prior to the imposition of sentence, any
 7   funds delivered to the United States to satisfy the personal money
 8   judgment shall be seized and held by the U.S. Department of Homeland
 9   Security, Customs and Border Protection, in its secure custody and
10   control.
11        IT IS SO ORDERED.
12
13   DATED: August 18, 2009
                                       _______________________________
14                                     FRANK C. DAMRELL, JR.
                                       UNITED STATES DISTRICT JUDGE
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                                                      Money Judgment; Order
